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                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION

 KIMBERLY A. WILLIAMS,

               Plaintiff,              Case No.
         v.

 UNITED STATES OF AMERICA,

                Defendant.




                            Original Complaint
     Plaintiff, KIMBERLY A. WILLIAMS, sues the Defendant, United States

of America (hereinafter “U.S.A.”), and alleges:

        Parties, Jurisdiction, Service of Process, and Venue

1.    This is a medical malpractice case.

2.    This is an action for damages in excess of Seventy-five

      Thousand Dollars ($75,000), exclusive of interest and costs.

3.    Plaintiff, KIMBERLY A. WILLIAMS, resides in Inverness,
      Florida. Ms. Williams is a veteran of the United States Navy.

4.    The Defendant is the United States of America.

5.    This Court has jurisdiction under the Federal Tort Claims Act
      and the provisions of 28 U.S.C. §1346(b), which vests exclusive
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     subject matter jurisdiction of Federal Tort Claims litigation in
     the Federal District Court.

6.   The United States of America may be served with process in

     accordance with Rule 4(i) of the Federal Rules of Civil
     Procedure by serving a copy of the Summons and of the

     Original Complaint on the United States Attorney Christopher

     P. Canova, United States Attorney for the Northern District of
     Florida, by certified mail, return receipt requested at his office,

     United States Attorney, Gainesville Division, 300 East

     University Avenue, Suite 310, Gainesville, FL 32601, to the
     attention of the Civil Process Clerk, and by serving a copy of

     the Summons and Plaintiff’s Original Complaint on Jefferson

     Sessions, Attorney General of the United States, by certified

     mail, return receipt requested, at the Attorney General’s Office,

     10th and Constitution Avenue, N.W., Washington, DC 20530,

     to the attention of the Civil Process Clerk.

7.   Venue is proper in this Court pursuant to 28 U.S.C § 1402(b),

     as the United States is a Defendant and a substantial part of

     the events or omissions giving rise to this action occurred in
     the district of this Court.




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                   Jurisdictional Prerequisites
8.   On or about September 1, 2016, the Department of Veterans

     Affairs received from Plaintiff written notice of her claim and

     intent to initiate litigation for medical malpractice for the

     negligent treatment by a VA provider.

9.   Pursuant to the provisions of 28 U.S.C. §§ 2672 and 2675(a),

     on or about March 20, 2017, the Department of Veteran Affairs

     also received Plaintiffs Standard Form 95. The Standard Form

     95 form for the Plaintiff is attached hereto and incorporated by

     reference herein respectively as Exhibit “A”.

10. On May 3, 2018, the Defendant mailed to Plaintiff a denial of

     the claim. Less than six months have passed between the

     denial of Plaintiff’s claim and the filing of this Original

     Complaint, and Plaintiff has complied with all jurisdictional
     prerequisites and conditions precedent to commencement and

     prosecution of this litigation.

           Liability of the United States of America
11. This case is commenced and prosecuted against the United
     States of America pursuant to and in compliance with Title 28

     U.S.C. §§2671-2680, commonly referred to as the “Federal Tort

     Claims Act.” Liability of the United States is predicated

     specifically on Title 28 U.S.C. §§ 1346(b)(1) and 2674 because



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    the personal injuries and resulting damages of which complaint
    is made, were proximately caused by the negligence, wrongful

    acts and/or omissions of employees and/or agents of the

    United States of America at the Gainesville VA Medical Center,
    Gainesville, Florida, while acting within the scope of their

    office or employment, under the circumstances where the

    United States of America, if a private person, would be liable to
    the Plaintiff in the same manner and to the same extent as a

    private individual under the laws of the State of Florida.

                Agency, Employment, and Scope
12. The Department of Veterans Affairs is an agency of the United

    States of America. The Defendant, United States of America,

    through its agency, the Department of Veterans Affairs, at all

    times material hereto, owned, operated, and controlled the

    health care facilities known as the Malcom Randall VA Medical

    Center of North Florida/South Georgia Veterans Health

    Systems (hereinafter referred to as “VA Medical Center:) in
    Gainesville, Florida, and through its agency, the Department of

    Veterans Affairs, staffed its facilities with its officers, agents,

    servants, and/or employees.
13. At all times material hereto, all persons involved in the medical

    and health care services provided to Ms. Williams at the VA


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    Medical Center in Gainesville, Florida, were officers, agents,
    servants or employees of the Department of Veteran Affairs,

    the United States of America, or some agency thereof, and were

    at all times relevant, acting within the course and scope of such
    employment.

14. In this Original Complaint, whenever the terms “Defendant” is

    used, it means Defendant, Defendant’s officers, agents,
    servants, employees, and/or representatives. Whenever in this

    Original Complaint, it is alleged that Defendant did any act or

    thing, it is meant that Defendant, Defendant’s officers, agents,
    servants, employees, and/or representatives did such act or

    thing, and that at the time such act or thing was done, it was

    done with the full authorization and ratification of Defendant

    and was done in the normal and routine course and scope of

    employment of Defendant’s officers, agents, servants,

    employees, and/or representatives. Whenever in this Original

    Complaint it is alleged that Defendant omitted any act or thing,

    it is meant that Defendant, Defendant’s officers, agents,

    servants, employees, and/or representatives omitted such act

    or thing.




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                               Facts
15. This is a Federal Tort Claims Action for monetary damages

    sustained by Ms. Williams resulting from serious injuries to

    Ms. Williams, as a result of substandard, and therefore,

    negligent, medical and hospital care.

16. This action is brought pursuant to the provision of the Florida

    Medical Negligence Act, Chapter 766, §§101-316, et seq.,

    Florida Statutes, for the injuries sustained by Ms. Williams,

    due to the breach of the prevailing standard of care and Florida

    law by the Defendant.

17. Pursuant to the requirements of §766.203, Florida Statutes,

    Plaintiff timely provided to the Defendant Affidavits from two

    medical doctors, corroborating the fact that reasonable ground

    exist to initiate medical negligence litigation against Defendant.
    These Affidavits are attached hereto as Exhibit “B.”

18. This claim concerns negligent medical and hospital care

    provided by agents, servants, and employees of the United

    States government at the VA Medical Center, in Gainesville,

    Florida to Ms. Williams.

19. As is relevant to this Original Complaint, Ms. Williams
    received care and treatment by Amy Stevens, M.D. at the VA

    Medical Center from approximately March 10, 2014 through



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    July 10, 2014. Ms. Williams first consulted with Dr. Stevens on
    March 10, 2014 for evaluation of rectocele, which is a posterior

    vaginal prolapse. Dr. Stevens recommended a surgical

    procedure known as a rectocele repair.
20. On June 4, 2014, Dr. Stevens, a physician employed by VA

    Medical Center, Gainesville, Florida, performed anorectal

    surgery for rectocele repair on Ms. Williams. At the time, Ms.
    Williams was 43 years old. During the procedure, Dr. Stevens

    negligently punctured Ms. Williams’ rectum.

21. Without obtaining an intra-operational consultation from a
    general or colorectal surgeon, Dr. Stevens performed a

    rectotomy repair on Ms. Williams’ punctured rectum. Dr.

    Stevens did so by closing the puncture site in 2 layers with 2-0

    chromic suture in a locked running fashion.

22. Following the procedure, Ms. Williams was never informed by

    Dr. Stevens or any other health care provider at the VA Medical

    Center that her rectum had been punctured or that Dr. Stevens

    performed a rectotomy repair during the rectocele repair

    procedure.

23. Ms. Williams was discharged from hospital care the following

    day on June 5, 2014, with medications and a Sitz bath. Before




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    she was discharged, she was also told she could resume a
    regular diet.

24. A few days later, on June 7, 2014, Ms. Williams presented to

    the ER at the VA Medical Center complaining of dizziness,
    lightheadedness, and a large amount of vaginal bleeding.

    Medical records show she underwent a pelvic exam in the ER

    that showed the repair was intact, but a right perirectal
    hematoma was suspected. A CT scan confirmed Ms. Williams

    had a large pelvic hematoma.

25. Ms. Williams was admitted to the hospital that night and
    started on antibiotics. Her admitting diagnosis was “pelvic

    abscess.” Ms. Williams also received a blood transfusion and on

    June 9, 2014, she underwent insertion of a drainage catheter

    for the hematoma. According to the medical records, Ms.

    Williams underwent another vaginal exam that showed the

    rectocele repair was still intact.

26. On June 13, 2014, Ms. Williams was discharged, with the

    drainage catheter in place and with pain medication.

27. Four days later, on June 17, 2014, Ms. Williams returned to the

    VA Medical Center for removal of the drainage catheter.

28. On July 3, 2014, Ms. Williams had a postoperative appointment

    with Dr. Stevens. According to the medical records, Ms.


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    Williams was healing well but she was still experiencing some
    yellowish discharge. Dr. Stevens assured Ms. Williams that

    everything was progressing as it should.

29. Around July 10, 2014, Ms. Williams called the VA Medical
    Center, complaining of fecal drainage from her vagina. Upon a

    physical examination, Dr. Stevens discovered a rectovaginal

    fistula.
30. Dr. Stevens referred Ms. Williams to a non-VA pelvic

    floor/colorectal specialist to evaluate repair of the fistula.

31. Accordingly, on July 23, 2014, Ms. Williams presented to Dr.
    Sandra Tan at University of Florida Shands for evaluation of a

    rectovaginal fistula. From that point, Ms. Williams did not treat

    any further with Dr. Stevens. Ms. Williams’ medical records

    show she had several subsequent medical procedures

    performed in attempts to repair the fistula.

32. On September 11, 2014, Ms. Williams followed-up with Dr.

    Tan concerning the rectovaginal fistula and they discussed EUA

    with Seton placement.

33. Five days later, on September 16, 2014, Ms. Williams

    underwent EUA, Seton placement at UF Shands Hospital by

    Dr. Tan. During her follow-up appointment on November 26,

    2014, Ms. Williams was experiencing yellow drainage and fecal


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     drainage from the fistula. Dr. Tan suggested a possible fistula
     repair procedure at that time.

34. On January 5, 2015, Ms. Williams underwent a LIFT procedure

     to repair the rectovaginal fistula at UF Shands Hospital by Dr.
     Tan.

35. On January 16, 2015, Ms. Williams presented to Citrus

     Memorial Hospital with excessive vaginal and rectal bleeding,
     with abdominal and rectal pain.

36. On March 4, 2015, Ms. Williams presented to Dr. Tan for

     follow-up recurrent rectovaginal fistula with fecal drainage
     from her vagina and another fistula repair was discussed during

     that visit.

37. On May 11, 2015, Ms. Williams presented to Dr. Wexner at

     Cleveland Clinic Florida for consultation regarding fistula

     repair. At this time, Dr. Wexner indicated Ms. Williams medical

     problems were likely caused by the procedure performed by Dr.

     Stevens at the VA Medical Center. Ms. Williams still had no

     idea her rectum had been punctured during the rectocele repair

     procedure.

38. After her first visit with Dr. Wexner, Ms. Williams underwent

     several procedures by Dr. Wexner. On May 15, 2015, Ms.

     Williams underwent laparoscopic loop ileostomy creation by


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     Dr. Wexner. She was hospitalized for six days and discharged
     on May 21, 2015.

39. On July 15, 2015, Ms. Williams underwent right-sided gracilis

     interposition with advancement flap closure of fistula by Dr.
     Wexner in Weston Hospital. She was discharged four days later,

     on July 19, 2015.

40. On November 3, 2015, Ms. Williams underwent a submucosal
     anterior midline fistulotomy by Dr. Wexner at Weston

     Hospital.

41. On December 16, 2015, Ms. Williams underwent fistulotomy
     by Dr. Wexner at Weston Hospital.

42. On January 29, 2016, Ms. Williams underwent closure of loop

     ileostomy with small bowel resection and enteroenterostomy

     by Dr. Wexner at Weston Hospital. She was discharged on

     February 2, 2016.

43. On February 11, 2016, Ms. Williams presented to Citrus

     Memorial Hospital post ileostomy reversal with fever,

     abdominal pain and redness to surgical site. She was

     discharged on February 15, 2016.

44. On August 8, 2016, Ms. Williams was evaluated by Dr. Wexner

     at Cleveland Clinic for incisional hernia. Ms. Williams is still




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     under the care and treatment of Dr. Wexner and she is
     anticipating an additional surgical procedure.

45. Under Florida law, a medical provider is liable for injuries

     caused by the medical provider's failure to meet the prevailing
     standard of care for that health care provider. § 766.102(1), Fla.

     Stat. (2016). The standard of care must comport with "that

     level of care, skill, and treatment which, in light of all relevant
     surrounding circumstance, is recognized as acceptable and

     appropriate by reasonably prudent similar health care provider."

     Id.
46. Defendant was negligent in the care and treatment of Ms.

     Williams.

47. Defendant had a duty to provide treatment to Ms. Williams

     within the prevailing standard of care. Defendant breached the

     standard of care when it punctured Ms. Williams’ rectum

     during the rectocele repair procedure and then failed to

     properly repair the punctured rectum.

48. The standard of care also required Defendant to obtain intra-

     operative general or colorectal surgical consultation to repair

     the punctured rectum. Defendant breached that duty when it

     failed to do so and instead undertook to perform the repair on




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     its own. In so doing, Defendant is held to the same standard of
     care of a colorectal surgeon when repairing the rectum.

49. Defendant breached the standard of care of colorectal surgeon

     when repairing the ruptured rectum in 2 layers with 2-0
     chromic suture in a locked running fashion. This method did

     not comport with the prevailing standard of care. As a result,

     Ms. Williams developed a fistula which would not have
     otherwise occurred.

50. Defendant also failed to properly monitor and treat Ms.

     Williams following the rectocele and rectotomy procedure.
51. As a directly and proximate result of Defendant’s negligence,

     Plaintiff was seriously and permanently injured. The damages

     include, but are not limited to, past and future medical,

     hospital, nursing expenses incurred because of the multiple

     procedures, as described above, past and future pain and

     suffering, mental anguish, physical impairment and disability,

     lost wages, travel expenses, and other damages.

52. Prior to the incident, Ms. Williams was very active and involved

     with her children’s’ lives. Her level of activity and involvement

     has significantly decreased since the incident.




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53. Ms. Williams continues to have physical pain. Ms. Williams is
     still experiencing excruciating pain when having intercourse.

     She is also in need of an additional surgical procedure.

54. Ms. Williams injuries are, in all likelihood, permanent and will
     continue to cause chronic pain and mental suffering for the

     remainder of her life. She will likely continue to have limited

     ability to perform the activities of daily living. She will likely
     continue to need future therapy and medical treatment to

     manage her injuries.

   Cause of Action Against the United States of America
55. The Defendant, the United States of America, was negligent in

     their care and treatment of Ms. Williams in one or more of the

     following respects:

          a. By puncturing the rectum during the rectocele repair.

          b. By failing to properly repair the punctured rectum.

          c. By failing to obtain intra-operative general or colorectal

             surgical consultation to repair the punctured rectum.
          d. By failing to properly monitor and treat Ms. Williams

             following the procedure.

56. At all times material hereto, the officers, employees, agents,
     and/or representatives of the United States were negligent and




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     proximately caused the injuries and damages sustained by the
     Plaintiff.

                                Damages
57. As a direct and proximate result of the Defendant’s negligent

     acts or omissions, Plaintiff has suffered, and continues to
     suffer, severe and permanent injuries, which would not have

     otherwise occurred. Plaintiff, KIMBERLY A. WILLIAMS, pleads

     for all damages available under Florida state law, federal law,

     and equity including, but not limited to:

      a.    Past and future physical pain and suffering;

      b.    Past and future mental anguish;

      c.    Past and future suffering, humiliation, and emotional

            distress;

      d.    Past and future physical impairment and disability;

      e.    Past and future loss of income and impairment of earning

            capacity;

      f.    Past and future reasonable charges for medical care,
            nursing, hospital, rehabilitation services, custodial care,

            health care, supplies, attendant care expenses and other

            health services;
      g.    Past and future reasonable and necessary expenses

            incurred for substitute domestic services;


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      h.     Travel expenses for purposes of obtaining past and future
             medical treatment; and

      i.     Out-of-pocket expenses and other pecuniary losses.

                          Prayer for Relief
   WHEREFORE, Plaintiff requests that the Defendant be cited in
terms of law to appear and answer herein: that upon final trial and

hearing hereof, Plaintiff has judgment against the Defendant, for the

amount of actual damages; and for such other and different

amounts as they shall show by proper amendment before trial; for

post judgment interest at the applicable legal rate; for all court costs

incurred in this litigation; and for such other and further relief, at

law and in equity, both general and special, to which the Plaintiff

may show herself entitled and to which the Court believes her

deserving.

Dated this 18th day of May 2018.
                                       Respectfully submitted by:
                                       /s/ Therese A. Felth
                                       Therese A. Felth
                                       Florida Bar No. 108042
                                       McKenzie Law Firm, P.A.
                                       905 East Hatton Street
                                       Pensacola, Florida 32503
                                       Telephone (850) 432-2856
                                       therese@mckenzielawfirm.com
                                       vcrow@mckenzielawfirm.com
                                       Attorneys for Plaintiff

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                                                                                          22                                                                                    "A"

              CLAIM FOR DAMAGE,                                         INSTRUCTIONS: Pleaseread carefully the Instructions onthe                         FORM APPROVED
                                                                        reverse side and supply information requested on both sides of this               0MB NO. 1105-0008
               INJURY, OR DEATH                                         form. Use additional sheet(s) if necessary. See reverse side for
                                                                        additional Instructions.

1. Submit to Appropriate Federal Agency:                                                           2. Name, address of daimant, and daimanfs personal representative if any.
                                                                                                      (See Instrudions on reverse). Number, Street, City, Slate and Zip code.
U.S. Department of Veterans Affairs
Office of Chief Counsel (OOC)                                                                       Klmberly A. Williams
Southeast District - South                                                                         2707 E. Venus Street
1601 SW Archer Road                                                                                 Inverness, FL 34453
Gainesville, FL 32608

3. TYPE OF EMPLOYMENT                       4. DATE OF BIRTH           5. MARITAL STATUS           6. DATE AND DAY OF ACCIDB4T                           7.TIME(A.M. OR P.M.)
     • MILrrARY            [Xl CIVILIAN     09/12/1970                  Single                     May 11. 2015
6. BASIS OF CLAIM (Stale In detail the known facts and circumstances attending the damage, Injury,or death. Identifying persons and property involved,the place of occurrence and
     the causa thereof. Use additional pages if necessary).

          This claim arises out of the negligent care and treatment by Dr. Amy 0. Stevens, a physician at VA
          Medical Center, NF/SGVHS, Gainesville, Florida, which resulted in injury and represented a breach of
          the prevailing standard of care and of Florida Law. See attached for more information.


9.                                                                                 PROPERTY DAMAGE

NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Stfoet. City,Slate, and ZipCode).
None

BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGEAND THE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTED.
(See instructions on reverse side).

None


10.                                                                         PERSONAL INJURY/WRONGFUL DEATH

STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH. WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE THE f«ME
OF THE INJURED PERSON OR DECEDENT.

       Failure to properly repair claimant's punctured rectum during a rectocele repair, or failure to obtain
       intra-operative general or colorectalsurgical consultation in order to perform an appropriate repair, and
       failure to properly monitor and treat claimant following the procedure. (See attached)
11.                                                                                    WITNESSES

                                  NAME                                                              ADDF^SS (Number, Street. City, Stete, end Zip Cede)



      See Attached                                                           See Attached


12. (See Instnictions on reverse).                                             AMOUNT OF CLAIM (in dollars)
12a. PROPERTY DAMAGE                        12b. PERSONAL INJURY                             12c. WRONGFUL DEATH                    12d. TOTAL (Failure to specify may cause
                                                                                                                                         forfeiture of your rights).
None                                          $1,000,000.00                                  None                                     $1,000,000.00

1 CERTIFY THAT-IH&AMOUNT OP CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
FULL SATISFACnONJtNfrFINAL SETTLEMENT OF THIS CLAIM.

13a. Sipf^U^OF                             instructions on reverse side).                           13b. PHONE NUMBER OF PERSON SIGNING FORM 14. DATE OF SIGNATURE

                                                                                                    (850) 432-2856
                     /           Cfl/lL^BtiALTWFCR PRESENTING                                                   CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
                     (•_                  FRWOUtENTCLAIM                                                             CLAIM OR MAKING FALSE STATEMEMTS

The daimant is liable to the United Slates Government for a civil penally of not less than         Fine, imprisonment, or both. (See 18 U.S.C. 267,1001.]
$5,000 and not more than 310,000, plus 3 times the amount of damages sustained
bytheGovemment. (See 31 0.3,0.3729).
Authorized for Local Reproduction                                                NSN 7640-00-634-4046                                        STANDARD FORM 95 (REV. 2/2007)
Previous Edition Is not Usable                                                                                                               PRESCRIBED BY DEPT. OF JUSTICE
                                                                                                                                             28 CFR 14.2
95-109
                     Case 1:18-cv-00094-MW-GRJ Document 1 Filed 05/18/18 Page 18 ofExhibit
                                                                                    22                                                                                            "A"

                                                                                INSURANCE COVERAGE

Inorder that subrassUon daims may beadjudlcaied, itIsessentia] thaithedaimant provide thefoQowlrtg Infermadon regarding theinsurance eoverage ofthevehide orproperty.
IS. Do you carry acddeid Insurance? Q Yes If yes, give name and address ofinsurance company (Number. Street. City, State, and Zip Code) and policy number. ^ No



18. Have you filed adalm with your insurance canter in this Instance, and if so, isit full coverage or deductible?    Q Yes Q No              17. If dedudible, state amount

       N/A

18,Ifa daim has beenfiled with your canter, what action has your insurer taken orproposed totakewith reference toyour dalm?(Itisnecessary thatyou ascertain thesefads).


        N/A


19. Do you cany pubQcliability and property damage insurance? Q Yes If yes, give name and address ofinsurance carrier (Number, Street, City, Slate, and Zip Code). ^ No




                                                                                      INSTRUCTIONS

Claims presented under the Federal Tort Claims Act should be submitted directly to the "appropriate Federal agency" whose
employee(s) was involved In the Incident If the incident Involves more than one claimant, each claimant should submit a sepaiate
claim form.

                                                        Complete all Items • Insert the word NONE where applicable.
A CLAIMSHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL      DAMAGESIN A SUM CERTAIN FOR INJURYTO OR LOSS OF PROPERTY, PERSONAL
AGENCYRECEIVES FROM A CLAIMANT. KiS DULYAUTHORIZEDAGENT. OR LEGAL INJURY.OR DEATHALLEGEDTO HAVEOCCURRED BY REASON OF THE INCIDENT.
REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN                                 THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
NOTIFtCATtON OF AN INCIDENT. ACCOMPANIED BYA CLAIM FOR MONEY                                  TWnvPflpaAFTPP the CUIM ACCRUES.

Falturo to completaly execute this form or to supply the requested material within             The amountclaimedshouldbe substantiated by competent evidenceas follows:
two years (Tomthe date the claim accrued may render your claim Invalid. A claim
Is deemed presented when KIs received by the appropriate agency, not when it Is                (a) Insupport of the daim for personal injuryor death, the daimant should submita
mailed.                                                                                        writtenreportby the attendingphysidan, showing the nature and extent ofthe injury, the
                                                                                               nature and extent of treatment, the degree of permanent disability, ifany, the prognosis,
                                                                                               and the period of hospHalizalion, or Incapadtatlon, attaching Itemizedbillsfor medieal,
Ifinstruction Is needed Incompletingthis form,the agency listed in item #1 on the reverse      hospital,or burialexpenses aduaily incurred.
side may be contacted. Completeregulations pertainingto dalms asserted under the
Federal Tort CIdms Act can be found InTitle 28. Code of Federal Regulations, Part 14.
Many agendas have published supplmnenting regulations, if more than one agency is              (b) In supportof daims fordamage to property, whichhas been or can bo economlcaily
invol^, please state each agency.                                                              repdred, the daimant should submit at least two itemized signed statements or estimates
                                                                                               by reilabia,disinterested concerns, or. Ifpayment has been made, the itemizeddgned
                                                                                               receipts evidendng payment.
The dalm may be filledby a duly autliorized agent or other legal representative, provided
evidence saSsfadory to the Government Is submittedwiththe ddm establishing express
authorityto ad for the ddmant. A daim presented by an agent or tegal representative        ' fc) In supportofdalms fordamage to propertywhichIs not economlcaily repairable, or if
Tnust'be'pmsentM'tinnBitame'onhe'daimanL Ifthe daim Is signed by the agent-or                the property is lost or destroyed, the ddmant should submit statpiiieiits as to the original
legal representativa, it must show the title or legal capadty of the person signing and be   cost of the property, the date of purchase, and the value of the property, both bdoro and
acocmpanled by evidence of Iris/herauthorityto present a dalm on behatf of the daimant       after the accident. Such statements should be by disinterested competent persons,
 as agent, executor, administrator, parent, guardian or other representative.                preferablyreputable dealers cr officialsfamiDar withthe type of propertydamaged, or by
                                                                                             two or more competitive bidders, and should be certified as being just and correcL

If daimant Intends to tile for both personal injury and property damage, the amount for
each must be shewn in item number 12 of this form.                                             (d) Failure to specify a sum certain will render your claim Invalid and may result In
                                                                                               forfeiture of your rights.

                                                                                  PRIVACY ACT NOllCE
This Notice Is provided In accordance with the Privacy Act, 5 U.S.C. SS2a(e)(3). and           B. P/fticfpafPurpose: The Information requested Is to be used Inevaluating claims.
concerns tho information requested In the letter to wtiich this Notice Is attached.            C. Routine Uso: See the Notices of Systems of Records fcrthe agency to whom you are
    A. Authority: The requested information Is solicited pursuant to one or mere of the           subrnfttlng this form for this Information.
       following: S U.S.C. 301.28 U.S.C. 501 et seq., 28 U.S.C. 2671 el seq., 28 C.F.R.        D. Etfecf of FaffursfO Respond: Disclosure Is vctuntaiy. However, failura to supply the
          Part 14.                                                                                requested Infoimatlon or to execute tho fonn may render your dafm Invalid.''

                                                                         PAPERWORK REDUCnON ACT NOTICE

This notice Is safety for the purpose of the Paperwork Reduction Act, 44 U.S.C. 3501. Public repcrfing burden for this collectionof InfotmallonIs estimated to average 6 hours per
response, Induifingthe time for revlswingInstructions, searching existingdata sources, gatheringand maintaining the data needed, and completingand reviewing the coiledion of
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 Branch,Attention: PaperworkReductionStaff,Civil Division, U.S.Departmentof Justice, Washington, DC 2053O or to the Office of Managementand Budget. Donot mailcompleted
 form(s) to these addresses.

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                                                                             Exhibit "B"


STATE OF      Florida
COUNTY OF       Miami-Dade        .

                                      AFFIDAVIT


   BEFORE ME, the undersigned authority, personally appeared MICHAEL D.
BELLINGER, M.D., who after being first duly sworn deposes and says:
      1. I am the person described by the name listed above;
      2. I am a licensed and practicing medical doctor, as more fully described in the
         attached Curriculum Vitae;

      3. 1 have reviewed medical records involving the treatment and care rendered to
         Kimberly A. Williams.
      4. None of my previously rendered medical opinions have ever been disqualified
         by any Florida court of law.
      5. I am familiar with the standard of care for physicians practicing in the area of
         colorectal surgery and have specialized in that area of practice throughout my
         career.


      6. I have reviewed medical records from Amy O. Stevens, M.D., VA Medical
         Center at Gainesville, Citrus Memorial Hospital, Shands at the University of
         Florida, and the Cleveland Clinic regarding Kimberly A. Williams.
      7. Based upon review of the foregoing records, it is my opinion that the
         treatment and care rendered to Kimberly A. Williams by Amy O. Stevens,
         M.D. and VA Medical Center at Gainesville, was negligent, and fell below the
         prevailing professional standard of care for reasonably prudent similar health
         care providers.
      8. Within a reasonable degree of medical probability, the aforementioned
         breaches of the standard of care, caused or substantially contributed to
         causing serious injury to Kimberly A. Williams.
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                                                                                 Exhibit "B"


      9. Based upon my education, experience, and expertise as a medical doctor,
         Amy O. Stevens, M.D. and VA Medical Center at Gainesville were negligent,
         violating the applicable standard of care in the following manner:
         By failing to properly repair the patient's punctured rectum during a
         rectocele repair, or by failing to obtain intra-operative general or colorectal
         surgical consultation in order to perform an appropriate repair, and by failing
         to properly monitor and treat the patient following the procedure.
      10.Accordingly, I believe there is a good-faith basis for undertaking a claim for
         negligence against Amy O. Stevens, M.D. and VA Medical Center at
         Gainesville and the healthcare providers responsible for Kimberly A.
         Williams' care while she was at that facility.


FURTHER AFFIANT SAITH NOT.




                                                   Michael D. Hellinger, M.D.

STATE OF     Florida
COUNTY OF       Miami-Dade


      The foregoing instrument was acknowledged before me this Z / day of
August, 2016, by Michael D. Hellinger, M.D., who is personally known to me or who
has produced PQ                   as identification and who did/did not take an oath.



[SEAL]



                                                    Notary



                                               ROSAMARIA KLEMICK
                                          Notary Public - Stale ol Florida
                              I   s
                                          MyComm. Expires Sep 19,2016
                                             Commission # EE 829649
                                          Bonded Through National Notary Assn.
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                                                             Exhibit "B"
